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 4
                                                UNITED STATES DISTRICT COURT
 5                                                   DISTRICT OF NEVADA
 6    USACM LIQUIDATING TRUST and
      USA CAPITAL DIVERSIFIED TRUST
 7    DEED FUND, LLC,                                          Case No. 2:08-cv-00461-PMP-PAL
 8    Plaintiffs,
 9     v.                                                      USACM LIQUIDATING TRUST’S
                                                               UNOPPOSED MOTION FOR
10    DELOITTE & TOUCHE, LLP and                               ADMINISTRATIVE LEAVE TO ALTER
      VICTORIA LOOB                                            SCHEDULE FOR MOTION BRIEFING
11
      Defendants
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 1           WHEREAS Plaintiff USACM Liquidating Trust (the “Trust”) brought a complaint

 2 against Defendant Deloitte & Touche LLP (“D&T”) on April 11, 2008 (Doc. #1);

 3           WHEREAS the Parties have completed fact discovery, have exchanged expert reports,

 4 and are completing expert depositions;

 5           WHEREAS D&T filed a motion for summary judgment directed at imputation, in pari

 6 delicto, and statute(s) of limitations on April 26, 2010 (Doc. #97) (the “Imputation MSJ”), and

 7 the Trust filed its response to the Imputation MSJ on June 7, 2010 (Doc. #115);

 8           WHEREAS D&T filed a motion for summary judgment directed at causation on June 4,
 9 2010 (Doc. #111) (the “Causation MSJ”) and a motion to exclude certain opinions and

10 testimony of the Trust’s expert in this matter on June 4, 2010 (Doc. #110) (the “Motion to

11 Exclude”); and

12           WHEREAS the Parties have conferred regarding the briefing schedule related to the

13 Motion to Exclude and the briefing schedules for the other motions currently pending before this

14 Court.

15           The Trust HEREBY MOVES for a 10-day extension of time to file its opposition to the

16 Motion to Exclude.

17           D&T does not oppose the Trust’s motion provided that D&T is allowed a reciprocal 10-

18 day extension of time to file its reply brief in support of the Motion to Exclude.

19 DATED: June 9, 2010

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     UNOPPOSED MOTION FOR ADMINISTRATIVE LEAVE TO                                           PAGE 2
28   ALTER SCHEDULE FOR MOTION BRIEFING
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     Submitted by:                                     Reviewed by:
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17                                          [PROPOSED] ORDER
18           1.      The Trust’s brief and points and authorities in opposition to D&T’s Motion to
19 Exclude shall be due on July 1, 2010.

20           2.      D&T’s reply brief and points and authorities in support of D&T’s Motion to
21 Exclude will be due on July 22, 2010.

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23 IT IS SO ORDERED.

24
              June 15, 2010
     Dated: _______________________________               By:_________________________________
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                                                          The Honorable Philip M. Pro
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28   ALTER SCHEDULE FOR MOTION BRIEFING
